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 4   Facsimile: (559) 513-8530

 5   Attorney for Defendant, Gilberto Chavez Leon

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 8                                     UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     CASE NO. 1:12-cr-00344-LJO-SKO

12                        Plaintiff,               DEFENDANT GILBERTO CHAVEZ LEON’S
                                                   MOTION TO VACATE TRIAL DATE AND SET
13           v.                                    CHANGE OF PLEA FOR DECEMBER 8, 2014;
                                                   ORDER THEREON (note change in order)
14   GILBERTO CHAVEZ LEON,

15           Defendant.

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17           Defendant, GILBERTO CHAVEZ LEON, through his undersigned counsel, hereby

18   moves the Court for an order vacating the trial date set for December 9, 2014 at 8:30 a.m. and to

19   set a change of plea hearing on December 8, 2014 at 8:30 a.m. Defense counsel conferred with

20   Assistant United States Attorney Kevin Rooney. He agreed to this request.

21           Defense counsel requests December 8, 2014, for change of plea because she is currently

22   trailing for a courtroom for trial in the matters of People v. Peter Yoshioka, Case M14918028 and

23   People v. Bryan Murillo, Case M14911768. Time out dates are December 2nd and December 1st

24   respectively. It is anticipated that defense counsel will be in trial on November 24, 2014 and

25   December 1, 2014.

26   Dated: November 19, 2014                             /s/ Carol Ann Moses
                                                          CAROL ANN MOSES
27                                                        Attorney for Defendant,
28                                                        GILBERTO CHAVEZ LEON

     DEFENDANT GILBERTO CHAVEZ LEON’S
     MOTION TO VACATE TRIAL AND SET
     CHANGE OF PLEA FOR DECEMBER 8, 2014                                                                 1
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 2                                                ORDER
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             The Court, having reviewed the above request to Vacate Trial Date and set the matter for
 4   change of plea, HEREBY ORDERS AS FOLLOWS:
 5           The trial scheduled for Defendant, Gilberto Chavez Leon, will remain on calendar until
 6   the change of plea is taken. The matter shall be set for change of plea on December 8, 2014 at

 7   8:30 a.m.

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     IT IS SO ORDERED.
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10       Dated:      November 20, 2014                     /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
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     DEFENDANT GILBERTO CHAVEZ LEON’S
     MOTION TO VACATE TRIAL AND SET
     CHANGE OF PLEA FOR DECEMBER 8, 2014                                                                2
